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                                                                                         #:493


                                                          1   GREGORY M. BERGMAN (SBN 065196)
                                                              MICHELE M. GOLDSMITH (SBN 178222)
                                                          2   JASON J. BARBATO (SBN 301642)
                                                              BERGMAN DACEY GOLDSMITH
                                                          3   10880 Wilshire Blvd. Suite 900
                                                              Los Angeles, California 90024-4101
                                                          4   Telephone: 310.470.6110
                                                              Facsimile: 310.474.0931
                                                          5
                                                              Attorneys for Defendants, CITY OF INGLEWOOD
                                                          6   MAYOR JAMES BUTTS; CHIEF OF POLICE MARK FRONTEROTTA
                                                          7
                                                          8                                 UNITED STATES DISTRICT COURT
                                                          9           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                         10
                                                         11
                                                         12   MARTIN SISSAC                              Case No. 2:15-cv-01741-JAK-FFM
Telephone: (310) 470-6110, Facsimile: (310) 474-0931




                                                         13                                Plaintiffs,   DECLARATION OF MICHELE M.
                                                                                                         GOLDSMITH IN SUPPORT OF
       BERGMAN DACEY GOLDSMITH




                                                         14   v.                                         MOTION FOR SUMMARY
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                                                                         JUDGMENT, OR, IN THE
                                                         15   CITY OF INGLEWOOD; MAYOR                   ALTERNATIVE, PARTIAL
                                                              JAMES BUTTS; CHIEF OF                      SUMMARY JUDGMENT
                                                         16   POLICE MARK FRONTEROTTA
                                                              AND DOES 1 THROUGH 10,                     Date: September 26, 2016 [Reserved]
                                                         17   INCLUSIVE,                                 Time: 8:30 a.m.
                                                                                                         Ctrm: 750
                                                         18                              Defendants.
                                                                                                         [Filed Separately but concurrently herewith:
                                                         19                                                 1. Motion for Summary Judgment;
                                                                                                            2. Separate Statement;
                                                         20                                                 3. Declaration of Kevin Harris;
                                                                                                            4. Declaration of Cal Saunders; and
                                                         21                                                 5. Declaration of Micah Herd.]
                                                         22                                              Trial: December 6, 2016
                                                         23
                                                         24
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                                                                                                         DECLARATION OF MICHELE GOLDSMITH IN SUPPORT OF MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-2 Filed 08/29/16 Page 2 of 105 Page ID
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                                                          1                        DECLARATION OF MICHELE M. GOLDSMITH
                                                          2           I, Michele M. Goldsmith, declare:
                                                          3           1.       I am an attorney at law, duly licensed to practice before all of the courts
                                                          4   of the State of California. I am a shareholder with the law firm of Bergman Dacey
                                                          5   Goldsmith, attorneys of record for Defendants City of Inglewood, Mayor James
                                                          6   Butts, and Chief of Police Mark Fronterotta (collectively, “Defendants”). I am the
                                                          7   lead attorney handling this matter on behalf of the Defendants. I also act as Special
                                                          8   Counsel to the City of Inglewood, and provide advice regarding personnel matters. I
                                                          9   have personal knowledge of the matters stated herein, and, if called as a witness, I
                                                         10   could and would competently testify to the matters set forth in this Declaration.
                                                         11           2.       This Declaration is made in support of Defendants’ Motion for
                                                         12   Summary Judgment, or in the alternative, Partial Summary Judgment.
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                                                         13           3.       On July 12, 2016, as part of this action, I conducted the first session of
       BERGMAN DACEY GOLDSMITH




                                                         14   the deposition of Plaintiff Martin Sissac. This deposition was conducted at the law
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                         15   office of Bergman Dacey Goldsmith, at 10880 Wilshire Boulevard, Suite 900, Los
                                                         16   Angeles, California 90024. I was present throughout the entirety of the deposition.
                                                         17   Also present throughout the deposition were: the court reporter, Defendant Mark
                                                         18   Fronterotta, Inglewood Assistant City Attorney Derald Brenneman, and Mr. Sissac’s
                                                         19   attorneys—Joseph Avrahamy. Mr. Sissac’s second attorney, Marla Brown, was there
                                                         20   for a portion of the deposition. I am the only attorney who asked questions of Mr.
                                                         21   Sissac. I am making this declaration to, in part, authenticate excerpts from this
                                                         22   deposition that are cited in Defendants’ Memorandum of Points and Authorities in
                                                         23   support of its pending Motion for Summary Judgment. Attached to this Declaration
                                                         24   as Exhibit A is a true and correct copy of a selection of relevant excerpts from the
                                                         25   first session of Mr. Sissac’s deposition.
                                                         26           4.       On August 8, 2016, as part of this action, I conducted the second session
                                                         27   of the deposition of Plaintiff Martin Sissac. This deposition was conducted at the law
                                                         28   office of Bergman Dacey Goldsmith, at 10880 Wilshire Boulevard, Suite 900, Los

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                                                                                                          DECLARATION OF MICHELE GOLDSMITH IN SUPPORT OF MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-2 Filed 08/29/16 Page 3 of 105 Page ID
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                                                          1   Angeles, California 90024. I was present throughout the entirety of the deposition.
                                                          2   Also present throughout the deposition were: the court reporter, Defendant Mark
                                                          3   Fronterotta, Inglewood Assistant City Attorney Derald Brenneman, and Mr. Sissac’s
                                                          4   attorney—Joseph Avrahamy. I am the only attorney who asked questions of Mr.
                                                          5   Sissac. I am making this declaration to, in part, authenticate excerpts from this
                                                          6   deposition that are cited in Defendants’ Memorandum of Points and Authorities in
                                                          7   support of its pending Motion for Summary Judgment. Attached to this Declaration
                                                          8   as Exhibit B is a true and correct copy of a selection of relevant excerpts from the
                                                          9   second session of Mr. Sissac’s deposition.
                                                         10           5.       On July 18, 2016, as part of this action, I attended the deposition of
                                                         11   Defendant Mayor James Butts. This deposition was conducted at the law office of
                                                         12   Joseph Avrahamy, at 16530 Ventura Boulevard, Suite 208, Encino, California 91436.
Telephone: (310) 470-6110, Facsimile: (310) 474-0931




                                                         13   I was present throughout the entirety of the deposition. Also present throughout the
       BERGMAN DACEY GOLDSMITH




                                                         14   deposition were: the court reporter, a videographer, Inglewood City Attorney
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                         15   Kenneth Campos, Plaintiff Martin Sissac, and Mr. Sissac’s attorney—Joseph
                                                         16   Avrahamy. Mr. Avrahamy was the only attorney who asked questions of Mayor
                                                         17   Butts. I am making this declaration to, in part, authenticate excerpts from this
                                                         18   deposition that are cited in Defendants’ Memorandum of Points and Authorities in
                                                         19   support of its pending Motion for Summary Judgment. Attached to this Declaration
                                                         20   as Exhibit C is a true and correct copy of a selection of relevant excerpts from Mayor
                                                         21   Butts’ deposition.
                                                         22           6.       On July 15, 2016, as part of this action, I attended the deposition of
                                                         23   Defendant Chief Mark Fronterotta. This deposition was conducted at the law office
                                                         24   of Joseph Avrahamy, at 16530 Ventura Boulevard, Suite 208, Encino, California
                                                         25   91436.       I was present throughout the entirety of the deposition.        Also present
                                                         26   throughout the deposition were: the court reporter, a videographer, Plaintiff Martin
                                                         27   Sissac, and Mr. Sissac’s attorney—Joseph Avrahamy. Mr. Avrahamy was the only
                                                         28   attorney who asked questions of Chief Fronterotta. I am making this declaration to,

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                                                                                                        DECLARATION OF MICHELE GOLDSMITH IN SUPPORT OF MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-2 Filed 08/29/16 Page 4 of 105 Page ID
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                                                          1   in part, authenticate excerpts from this deposition that are cited in Defendants’
                                                          2   Memorandum of Points and Authorities in support of its pending Motion for
                                                          3   Summary Judgment. Attached to this Declaration as Exhibit D is a true and correct
                                                          4   copy of a selection of relevant excerpts from Chief Fronterotta’s deposition.
                                                          5           7.       On July 22, 2016, as part of this action, I attended the deposition of
                                                          6   Michael Falkow.             This deposition was conducted at the law office of Joseph
                                                          7   Avrahamy, at 16530 Ventura Boulevard, Suite 208, Encino, California 91436. I was
                                                          8   present throughout the entirety of the deposition.           Also present throughout the
                                                          9   deposition were: the court reporter, Inglewood City Attorney Kenneth Campos,
                                                         10   Plaintiff Martin Sissac, and Mr. Sissac’s attorney—Joseph Avrahamy.                       Mr.
                                                         11   Avrahamy and I were the only attorneys who asked questions of Mr. Falkow. I am
                                                         12   making this declaration to, in part, authenticate excerpts from this deposition that are
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                                                         13   cited in Defendants’ Memorandum of Points and Authorities in support of its pending
       BERGMAN DACEY GOLDSMITH




                                                         14   Motion for Summary Judgment. Attached to this Declaration as Exhibit E is a true
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           Los Angeles, California 90024




                                                         15   and correct copy of a selection of relevant excerpts from Mr. Falkow’s deposition.
                                                         16           8.       On July 19, 2016, as part of this action, I attended the deposition of Artie
                                                         17   Fields. This deposition was conducted at the law office of Joseph Avrahamy, at
                                                         18   16530 Ventura Boulevard, Suite 208, Encino, California 91436.                 I was present
                                                         19   throughout the entirety of the deposition. Also present throughout the deposition
                                                         20   were: the court reporter, Inglewood City Attorney Kenneth Campos, Plaintiff Martin
                                                         21   Sissac, and Mr. Sissac’s attorney—Joseph Avrahamy. Mr. Avrahamy was the only
                                                         22   attorney who asked questions of Mr. Fields. I am making this declaration to, in part,
                                                         23   authenticate excerpts from this deposition that are cited in Defendants’ Memorandum
                                                         24   of Points and Authorities in support of its pending Motion for Summary Judgment.
                                                         25   Attached to this Declaration as Exhibit F is a true and correct copy of a selection of
                                                         26   relevant excerpts from Mr. Fields’ deposition.
                                                         27           9.       Attached to this Declaration as Exhibit G is a true and correct copy of a
                                                         28   document, Bates number COI 13686, that was produced by Defendants in this action.

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                                                                                                          DECLARATION OF MICHELE GOLDSMITH IN SUPPORT OF MSJ
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                                                          1   Exhibit G, dated 10/21/2011, is a copy of the City of Inglewood’s full time vacant
                                                          2   position listings as of 8/29/2011.            I was provided a copy of this document by
                                                          3   Assistant City Attorney Michael Falkow. This document was referred to during the
                                                          4   deposition of Michael Falkow.
                                                          5            10.     I am personally aware that Mr. Sissac applied for employment at the
                                                          6   Fontana Unified School District, to be the Fontana Unified School District’s Police
                                                          7   Chief.      I was contacted by the City regarding the files that the background
                                                          8   investigator was entitled to review in connection with his background investigation
                                                          9   regarding Mr. Sissac. Mr. Sissac had signed a written authorization permitting the
                                                         10   background investigator to obtain and review Mr. Sissac’s personnel file. The City
                                                         11   required, however, for Mr. Sissac to sign a second written authorization expressly
                                                         12   permitting the City to disclose and to provide to the background investigator Mr.
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                                                         13   Sissac’s Internal Affairs (“IA”) files. I am personally aware that Mr. Sissac signed
       BERGMAN DACEY GOLDSMITH




                                                         14   that authorization, and that Mr. Sissac’s personnel files and the IA files were
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           Los Angeles, California 90024




                                                         15   provided to the background investigator to review. The IA files included a folder
                                                         16   which contains the written reprimand by Chief Fronterotta related to the missed
                                                         17   training, and a letter of revocation of the written reprimand. It is the policy, practice
                                                         18   and procedure of the City not to destroy written reprimands (and/or revocations of
                                                         19   same) consistent with Penal Code § 832.5, applicable to personnel complaints made
                                                         20   against police officers.            Nevertheless, I know that Mr. Sissac was hired by the
                                                         21   Fontana Unified School District in 2015, and remains its Police Chief.
                                                         22
                                                         23            I declare under penalty of perjury under the laws of the United States that the
                                                         24   foregoing is true and correct. Executed at Los Angeles, California, this 29th day of
                                                         25   August 2016.
                                                         26
                                                         27                                                         ______________________________
                                                                                                                     ___________________________
                                                                                                                                               _______
                                                                                                                               Michele
                                                                                                                               Michhele Goldsmith
                                                         28

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                                                                                                             DECLARATION OF MICHELE GOLDSMITH IN SUPPORT OF MSJ
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 1                     UNITED STATES DISTRICT COURT
 2         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 3
 4    MARTIN SISSAC,
 5                 Plaintiff,
 6           vs.                                     Case No.:
                                                     2:15-cv-01741-JAK-FFM
 7
      CITY OF INGLEWOOD; MAYOR
 8    JAMES BUTTS; CHIEF OF POLICE
      MARK FRONTEROTTA AND DOES 1
 9    THROUGH 10, INCLUSIVE,
10                 Defendants.
11    _____________________________
12
13                      DEPOSITION OF MARTIN SISSAC
14                         Los Angeles, California
15                         Tuesday, July 12, 2016
16                                  Volume I
17
18
19
20
21    Reported by:
22    MICHELLE BULKLEY
23    CSR No. 13658
24    Job No. 2341197
25    PAGES 1 - 226

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                                  #:499

 1           A     Yes.   That was October 18th of 1993.

 2           Q     And you promoted to sergeant in 2000; correct?

 3           A     I'm not sure of the exact -- I'm not sure of

 4    the exact year that I promoted to sergeant.           I'll have

 5    to research it.

 6           Q     Do you recall when you promoted to lieutenant?

 7           A     No, I don't.    I would have to look at -- I

 8    mean, I vaguely remember the years, but I'd have to look

 9    at an employment document to give you an accurate

10    answer.

11           Q     There are certain allegations in the complaint

12    that you filed against the City of Inglewood.           Did you

13    review the complaint before it was filed?

14           A     Yes.

15           Q     In the complaint it states that you were

16    promoted to sergeant in 2000.           Is there any reason for

17    you to believe that that was incorrect?

18           A     No.

19           Q     The complaint states that you promoted to

20    lieutenant in 2006.      Any reason to believe that's

21    incorrect?

22           A     No.

23           Q     Did you promote to captain in 2008?

2
244          A     Yes.

25           Q     And who selected you for the captain position?

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 1           A     That's a different question than you just

 2    asked, so --

 3                 MR. AVRAHAMY:     Just answer that question.          You

 4    can answer that question.

 5                 THE WITNESS:     Which question would you like me

 6    to answer?

 7                 MR. AVRAHAMY:     That last one.

 8                 THE WITNESS:     Okay.      Chief Seabrooks assigned

 9    the Office of Administrative Services to me.              Under that

10    command I had responsibility for all grants.              This was

11    just one grant that I had responsibility for.

12    BY MS. GOLDSMITH:

13           Q     All right.     That's fine.        The record will be

14    what it is, and your answers are what they are to my

15    questions, which we'll be able to use at a later

16    proceeding.     That's fine.

17                 What specific instruction, if any, did Chief

18    Seabrooks give you regarding the management of the CHRP

19    grant in 2009?

20           A     I don't recall any specific instructions that

21    she gave me regarding that particular grant.              We had

22    several discussions about it, but I don't remember or

23    recall any type of specifics.

24           Q     Did you have discussions initially in 2009

25    regarding the CHRP grant?

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 1           Q     Do you recall any of the conversations with

 2    Chief Seabrooks after the CHRP grant was awarded?

 3           A     I don't recall any specific conversation with

 4    her.

 5           Q     As the captain of OAS and having the

 6    responsibility to manage this grant and others, what

 7    were your general duties and responsibilities regarding

 8    managing grants after 2009?

 9           A     To oversee the grants, making sure that all

10    the
        e reporting requirements were taken care of, to make

11    sure that we audited the grant -- how we dealt with the

12    grants within the police department and report bac
                                                     back to

13    the chief.     That's all I can recall right now.

14           Q     Do you recall in 2009 approximately how many

15    grants there were that you were overseeing?

16           A     No, I don't.

17           Q     Can you give me a best guesstimate?

18                 MR. AVRAHAMY:    Guesstimate?

19    BY MS. GOLDSMITH:

20           Q     Is it -- won't hold you to it.         Was it one or

21    two grants, seven or ten?        Can you give us your best

22    estimate of how many grants were within the police

23    department at that time?

24           A     My best recollection is it was over ten, but I

25    can't be accurate.      Micah used to keep a --

                                                                 Page 38

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 1            A    No.

 2            Q    Why not?

 3            A    According to the information that I had read

 4     and the people that I had talked to at DOJ, an officer

 5     had to be officially laid off first before the grant

 6     could be used.

 7            Q    According to the information you read and any

 8     conversations you had with the Department of Justice,

 9     was a layoff notice sufficient before grant funds could

10     be used?

11            A    To my recollection, no.

12            Q    Are you aware with the City of Inglewood that

13     in October of 2011, layoff notices were issued to

14     officers, and the Department of Justice did grant a CHRP

15     modification with job layoff notices?

16            A    Am I aware of that?

17            Q    Correct.

18            A    Yes.   I am aware of that.

19            Q    Do you know upon what the Department of

20     Justice relied that they granted the CHRP modification

21     with just layoff notices as opposed to having the

22     officers actually laid off first?

23            A    No.

24            Q    Did you ever see any written documentation at

25     all that Department of Justice advised the City of

                                                                 Page 45

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 1     right?

 2              A   It's my understanding that it was rejected.          I

 3     don't have any documents or anything like that, but it's

 4     my understanding that that first try was rejected by the

 5     DOJ.     I don't know why the DOJ rejected it.

 6              Q   You never knew why the DOJ rejected the city's

 7     first attempt to modify the grant?

 8              A   No.   Like I said, after that meeting, it's my

 9     recollection that I was already assigned to the Office

10     of Investigative Services.         So I don't know why they

11     called me to that meeting, but I can only assume that

12     they called me so I could give some expertise on CHRP.

13     I offered my expertise.       I found out that -- through

14     Chief Seabrooks, I believe, that the first attempt was

15     rejected, and that was it.

16              Q   At any time did you learn that it was rejected

17     because the City of Inglewood did not use your

18     recommendation to issue layoff notices first?

19                  MR. AVRAHAMY:    I'm going to object as

20     misstates the testimony and mischaracterizes the

21     evidence; vague and ambiguous.           And if you can re-ask

22     the question because I don't think that there's evidence

23     that he made such a recommendation.

24                  MS. GOLDSMITH:     I'll get to that.

25     BY MS. GOLDSMITH:

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 1     lay someone off and then don't lay them off.             Issuing

 2     layoff notices in my context, the way I use the term,

 3     means that you have already laid officers off.             It's not

 4     a matter of getting a piece of paper and sliding it

 5     across the table to someone.           It's a matter of actually

 6     laying that police officer off.             That's the context in

 7     which I'm using it.

 8                    So when I make a recommendation in that

 9     meeting with the mayor where I said you actually have to

10     issue layoff notices, where you actually have to lay off

11     officers, that's the context in which I'm giving that

12     advice, but I don't know necessarily that they actually

13     used that recommendation.         I had no interactions with

14     the mayor after that conversation that I can recall at

15     this particular moment in time regarding layoff notices

16     and things like that.

17                    My only other conversation was with Captain

18     Fronterotta where he told me that they were just going

19     to lay off -- they were going to issue notices but not

20     actually lay officers off, and I told him that was

21     wrong.       We can't do that.    You actually have to lay them

22     off, not just issue notices.

23              Q     Well, are you aware that the Department of

24     Justice granted the modification even though the

25     officers weren't actually laid off?

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 1             A      I wasn't privy to Mayor Butts going up to

 2     Washington and talking with the DOJ.                  I'm not sure what

 3     they talked about there, how they were able to rework

 4     the modification.        My input was only based on the

 5     information that I knew based on my training with the

 6     grant and based on talking to representatives at DOJ.                     I

 7     simply gave advice.        That was it.         So, no, I don't

 8     know -- I don't know what Mayor Butts talked about when

 9     he went up to DOJ.

10             Q      Right.   So are you aware --

11                    MR. AVRAHAMY:     It's 11:15 --

12                    MS. GOLDSMITH:     Let me just finish this line

13     of questions.       Thank you.     And you've taken several

14     breaks, so I thought that was breaks enough.                  So that's

15     okay.       That's why I didn't break again.

16                    MR. AVRAHAMY:     Fair enough.

17     BY MS. GOLDSMITH:

18             Q      So are you aware if the Department of Justice

19     agreed to modify the City of Inglewood's grant when the

20     City of Inglewood only provided layoff notices and the

21     officers had not actually been laid off yet?

22             A      Am I aware of layoff notices being issued and

23     the grant being modified?          Is that what you're asking?

24             Q      Without the officers actually being laid off,

25     yes.

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 1     layoff notices, but the officers really weren't going to

 2     be laid off.       I don't know what the direct words were.

 3     I just heard from it from a few people that attended the

 4     meeting.    So it confirmed what I heard from Chief

 5     Fronterotta.

 6             Q   Did you attend the meeting with Chief

 7     Seabrooks, Captain Fronterotta at the time and the ten

 8     officers?

 9             A   No.     I told Chief Seabrooks that as long as

10     she didn't need me, I didn't want to participate in what

11     they were doing.       I didn't believe in it.            I thought it

12     was wrong, and I thought they were defrauding the

13     federal government.       So I requested that I --

14             Q   Uh-huh.

15                 MR. AVRAHAMY:      Go ahead.        Finish.

16                 THE WITNESS:      I requested not to attend, and

17     she allowed me not to attend.            She knew how I felt about

18     it.

19     BY MS. GOLDSMITH:

20             Q   So you requested not to participate in the

21     meeting because you thought the meeting -- or what was

22     going to be presented was falsified or illegal; is that

23     true?

24             A   Yes.

25             Q   Who were the officers that you spoke to that

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 1     withdrawn.

 2                  What was your understanding regarding the

 3     layoff notices that were issued -- withdrawn.

 4                  Did you ever see copies of the notices of

 5     layoffs from employment that were issued to the ten

 6     officers?

 7            A     I don't recall when I saw the layoff notices,

 8     but I did -- I do remember seeing the layoff notices at

 9     some particular point in time.

10            Q     Do you remember who authored the layoff

11     notices?

12            A     No.    I wouldn't remember that.        I didn't have

13     any involvement in it, so I wouldn't know.

14            Q     And based on your recollection, being a person

15     that is -- a person that is being laid off as opposed to

16     terminated, do you know who had the ultimate decision

17     regarding layoffs within the City of Inglewood?

18            A     I -- I don't know.        I don't -- I don't

19     understand the terminology of your question.

20            Q     Do you understand that a layoff is a decision

21     that is ultimately made by the city council?

22            A     Yes.

23            Q     So if the chief of police, whether it be Chief

24     Seabrooks or Chief Fronterotta -- if there was a

25     recommendation for layoff and the city council approved

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 1              A   No, I do not.

 2              Q   Do --

 3              A   Well, it was about CHRP, so I knew why it was

 4     called, but I didn't know what specifically it was

 5     about.

 6              Q   But then during the meeting did it become

 7     apparent what the subject matter was of the meeting as

 8     it related to CHRP?

 9              A   Yes.

10              Q   And what was that?

11              A   To modify the grant.

12              Q   And during that meeting did you offer an

13     opinion as to the proper way to modify the grant with

14     the DOJ?

15              A   I wouldn't call it an opinion.           I think a

16     question was posed, and I gave what I believe to be the

17     information from the CHRP's manual -- CHRP manual and

18     the training that I received.             I was just trying to

19     offer that information.         I didn't form an opinion.         I

20     was just trying to give information as to how to modify

21     the grant if they wanted to modify it.

22              Q   Do you ever recall any document to the chief

23     of police letting him know that you had formed an

24     opinion and offered it at that meeting?

25              A   No.     I don't recall.       If I see the document, I

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 1     way.    I think they referred to Artie being from Salinas

 2     and he did it that way in Salinas, and I think the only

 3     comment I made after that was, you know, "That was

 4     Salinas.       This is Inglewood."        And I left it alone after

 5     that.       It wasn't my place to do anything.

 6             Q      During that meeting did you raise a concern to

 7     the people at that meeting that what they were doing was

 8     improper?

 9             A      I don't think so.       I don't recall that.       I

10     raised the concern to Mr. Fields and Chief Seabrooks

11     after the meeting.

12             Q      Right.   That's what I -- but I wanted to see

13     your recollection about that meeting.                 So to the best of

14     your recollection in that meeting, the conversation did

15     not include you raising a concern as to what they were

16     doing or proposing to do?

17             A      I don't recall exactly what I said about

18     supplanting and things like that.               I don't think I said

19     it in that meeting.        I do recall saying it to Mr. Fields

20     in his office and also to Chief Seabrooks.

21             Q      Do you remember how long after your

22     conversation with Mayor Butts and Artie Fields and

23     yourself and Chief Seabrooks did the meeting with

24     Mr. Fields occur?

25             A      It was either that same day or the day after.

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 1     that were budgeted to hire?

 2              A     That was based on the acceptance of the 2009

 3     grant.       So we didn't exceed our budgetary capacity.            We

 4     were using that money to fund the newly hired police

 5     officers.       So we had money available.            We had

 6     supervisory positions that we hadn't filled at the time.

 7     I think we had a deputy chief's position that we hadn't

 8     filled.       We had a lieutenant's position.            And I'm going

 9     off of memory now.        I don't remember exactly what

10     positions.       I could be wrong about the lieutenants

11     versus sergeants versus deputy chief's position, but all

12     those positions were vacant, and we had an amount of

13     money that we could use to support any officers that we

14     needed to retain, if that's the wording that you want to

15     use.     There was no need to have any officers laid off.

16                    Plus we were giving raises.            I think at that

17     time or shortly after that, several people in the city

18     received raises.        So in my -- from my perspective, we

19     had not exhausted our general fund money like we were

20     supposed to do.

21              Q     Were you aware of the packet of information

22     that was provided by the City of Inglewood to the

23     Department of Justice to support the grant modification?

24              A     No.   Oh, I was aware of it, but I didn't

25     have -- I didn't review it, but, yes, I did know that

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 1     they submitted something to the DOJ.

 2            Q    Did you ever analyze the documentation that

 3     was provided to the Department of Justice in support of

 4     the city's request for modification?

 5            A    Did I ever analyze?

 6            Q    Uh-huh.

 7            A    No.   I did not analyze the documents, no.

 8            Q    Although you were aware of documents being

 9     submitted to the Department of Justice in support of the

10     request for modification, do you know what those

11     documents were?

12            A    No.   I don't know what those documents were.

13     I can assume, but I don't know.

14            Q    At the time when you formed the opinion that

15     the city was improperly supplanting funds, did anybody

16     give you a packet of the information that was being

17     submitted to the Department of Justice in support of the

18     modification request?

19            A    No one gave me -- from my recollection, no one

20     gave me a packet to review.

21            Q    So the information that you had on the

22     supplanting, what was the basis of that information?

23            A    The basis of my conclusion that they were

24     supplanting was Artie Fields' admission to me that he

25     was going to use the money to supplant officer salaries.

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 1            A    No.

 2            Q    Did you have any input in the drafting of the

 3     two-page letter by Jacqueline Seabrooks?

 4            A    I had input, yes, but I don't -- I don't

 5     recall the document.

 6            Q    Did she ask you to review a draft of a letter

 7     that she was submitting to the Department of Justice?

 8            A    No.   My only input was to caution the chief

 9     against signing the modification request.                 I believe

10     that her signature would expose her to legal issues and

11     not -- I begged her not to sign it.                 That's the only

12     input that I had.

13            Q    And you agree her signing it ultimately was

14     her decision; right?

15            A    Oh, I don't know what pressure she was under,

16     but, yes, she -- that looks like her signature from what

17     I can recall.

18            Q    You were not asked to participate in the

19     signing or submission of the August 3, 2011 modification

20     request by Chief Seabrooks; correct?

21            A    Not that I can recall.

22            Q    And when she wrote that that this request was

23     made as a result of an in-depth analysis of the city's

24     fiscal condition and whether the city will be able to

25     maintain existing police officer staffing levels, did

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 1     you perform an in-depth analysis of the city's financial

 2     condition?

 3             A    No, not of the city's financial condition, no.

 4             Q    And were you aware that the City of Inglewood

 5     had declared a municipal fiscal emergency?

 6             A    Yes.   I do --

 7             Q    Do you remember?

 8             A    I do recall that, yes.

 9             Q    Do you remember when that was?

10             A    No, I don't recall when it was.

11             Q    And do you remember that the city did

12     implement a city-wide reduction -- workforce reduction

13     plan?

14             A    Yes.

15             Q    Do you remember when the city implemented its

16     workforce reduction plan?

17             A    I don't remember the exact dates, no.         It was

18     before this, though.

19             Q    Did the workforce reduction plan also impact

20     the Inglewood Police Department?

21             A    Oh, yes, very, very drastically, yes.

22             Q    And do you recall that the workforce reduction

23     plan had a 20 percent reduction in police positions?

24             A    Vacant positions, yes.         At the time, back in

25     2008, we -- when Chief Seabrooks first got to our

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 1     which one you're referring to here.

 2            Q    You never saw the August 3, 2011 award

 3     modification request --

 4            A    No.

 5            Q    -- right?    Right?

 6            A    Yes.

 7            Q    And so were you aware that the City of

 8     Inglewood had received a modification request denial by

 9     the Department of Justice?

10            A    Yes.    I'm aware of the denial, but I didn't

11     know that there was a connection between that denial and

12     this request.

13            Q    What did you think the denial was a request

14     of?

15            A    From what I'm understanding, I -- you just

16     handed me this document.        I didn't know which document

17     this was.    Was this the first request or the second

18     request?

19            Q    That was the first request that was made by

20     Chief Seabrooks to modify the CHRP grant.

21            A    Okay.    Then, if this is the first request,

22     then, yes, the first request was denied.            So I'm aware

23     of that.

24            Q    And have you ever seen a copy of the

25     modification request denial?

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 1            Q    Did you ever see a memo that Jacqueline

 2     Seabrooks issued to Artie Fields giving him a report

 3     concerning a CHRP modification and an update?

 4            A    I don't recall.

 5                 MR. AVRAHAMY:     Can we take a two-minute break?

 6                 MS. GOLDSMITH:      Sure.

 7                 (Recess.)

 8     BY MS. GOLDSMITH:

 9            Q    In August of 2011, do you know if Chief

10     Seabrooks was discussing layoffs with city council?

11            A    I don't know.

12            Q    Do you know if the city council directed Chief

13     Seabrooks to reduce her police budget?

14            A    I don't know.

15            Q    Were you ever a participant with the city's

16     human resources department and a representative of the

17     Inglewood Police Association to meet and confer

18     regarding potential layoffs in September of 2011?

19            A    I don't recall.

20            Q    Do you understand that there's a requirement

21     to meet and confer with the union prior to layoffs

22     regarding not particular officers but positions that are

23     being laid off?

24            A    Yes.

25            Q    And although you may not have attended, are

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 1     don't recall.       I don't think I was.

 2            Q    At some point you claim that you spoke to Cal

 3     Saunders about the CHRP modification request; right?

 4            A    Yes.

 5            Q    And what position was Cal Saunders?

 6            A    The city attorney.

 7            Q    On how many occasions did you speak with Cal

 8     Saunders regarding the CHRP grant?

 9            A    At least two that I can recall.

10            Q    Do you have any documentation which would

11     reflect when you spoke to Mr. Saunders?

12            A    I don't, no.

13            Q    You don't have any?

14            A    I don't.

15            Q    Okay.     To the best of your recollection, when

16     was the first conversation that you had with

17     Mr. Saunders?

18            A    It had to be right around the time that the

19     police officers were issued their layoff notices.            I

20     remember talking to Mike Falco about it, and he believed

21     that there was a serious issue -- I told him the story

22     of what I knew, and he believed that there was a serious

23     issue and agreed that we needed to tell the city

24     attorney and --

25            Q    Do -- oh.

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 1            A    I don't remember how the meeting came about.

 2     I don't even know if we requested a meeting or if we

 3     just went right up to his office, but we walked into the

 4     city attorney's conference room, and he turned up the

 5     music because he believed that the city attorney's

 6     office was bugged, and he didn't want -- he didn't want

 7     anyone else to hear our conversation.

 8                 So he had the music up loud, and we talked

 9     about the issues that I found with CHRP and the fact

10     that the city was fraudulently laying officers off in

11     order to apply for the grant, which makes sense because

12     they didn't get a council vote until September after

13     they were -- after they received the additional denial.

14     So that also leads me to believe that the whole council

15     decision was false as well.          It was simply made to take

16     advantage of the CHRP funds, which is a violation of

17     taking advantage of them.        I'm just thinking about that

18     now.

19                 But to answer your question --

20            Q    I think you've answered my question.         You

21     didn't know when it was exactly, but it was around the

22     time of the layoff notices.

23            A    Okay.

24            Q    And the music being loud because it was

25     bugged, who had that opinion?

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 1            A    Cal Saunders, he had found a bug in one of the

 2     offices.    He had a detective, a private investigator

 3     that did a search of areas that he was having

 4     discussions in, and he actually found some type of

 5     listening device.     So after that he didn't feel safe

 6     talking in certain rooms.        So we'd either go walking

 7     around the city hall, or we would go into the conference

 8     room and he would turn up the music.                We would talk very

 9     low.   Mike Falco was present at that meeting as well.

10            Q    I was going to ask.         So you went down with

11     Mike Falco to the city attorney's office?

12            A    Yes.

13            Q    And what did you tell the city attorney in

14     that meeting?

15            A    I told him that I thought the city was

16     supplanting money, that they issued the layoff notices

17     fraudulently, that it could be a situation of perjury;

18     it could be a situation of supplanting, and he said he

19     would look into it.      So, you know, at that point I did

20     my job.

21            Q    How did you do your job?

22            A    I'm a police officer, so if I see a crime

23     being committed, I'm supposed to take action on it.                I

24     can't just ignore it because it's involving a police

25     chief or city government.

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 1            Q     Right.    So you understood that it was one of
 2     your responsibilities, even if it involved a superior
 3     officer, to bring it to law enforcement -- to bring it
 4     to someone's attention?
 5            A     Yes.
 6                  MR. AVRAHAMY:       Can I speak with my client?
 7                  MS. GOLDSMITH:        Can I ask one more question
 8     before you do, sir?
 9                  MR. AVRAHAMY:       No.
10                  (Attorney-client conference outside of the
11            deposition proceedings.)
12     BY MS. GOLDSMITH:
13            Q     Do you recall when you had the second
14     conversation with Cal Saunders?
15            A     I just want to clarify one thing, if I may.
16            Q     That's okay.
17                  MR. AVRAHAMY:       No.      Let him clarify.
18                  MS. GOLDSMITH:        Well, he can answer my
19     question, and if you want to ask him questions to
20     further clarify any testimony, you can do that.                He's
21     responded --
22                  MR. AVRAHAMY:       I think one of the admonitions
23     was if at any point you want to clarify anything at the
24     beginning of the deposition, this is the time to do it.
25     So this is the time to do it in the --

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 1            Q    Do you remember what month it was in?

 2            A    No.

 3            Q    Was it after the layoff notices were issued?

 4     Was it after the city council revoked the layoff

 5     notices?    What can you recall?

 6            A    I recall a conversation with him telling me

 7     that he did look into it and he'll report it to the city

 8     council and they'll take care of it.

 9            Q    Were you there when Cal Saunders reported to

10     the city -- withdrawn.

11                 Were you present at city council when Cal

12     Saunders allegedly reported to the city council?

13            A    No.   I don't think he reported, from what I

14     can recall -- and I don't know this to be a fact, but

15     Cal Saunders normally wrote memos to the city council

16     when something like this happened.             So, no, I wasn't

17     aware of any memo.      I wasn't aware -- I didn't see it.

18     That would be something that would be completely

19     inappropriate for me to see.

20            Q    Right.   So let me ask you my question again.

21     Were you present when Cal Saunders reported in closed

22     session anything that you allegedly told him?

23            A    As I stated just before --

24            Q    Yes or no were you there?

25            A    -- I said -- no.

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 1     stop.       That's what I recall.
 2             Q      Did you ever speak to city council directly
 3     about what you said had to stop?
 4             A      Yes.    I spoke to Judy Dunlap.       She -- not to
 5     council as a whole but Councilman Dunlap.
 6             Q      Did you ever speak to the city council in
 7     closed session regarding what you said had to stop?
 8             A      No.    Oh, yes, I did speak to them about CHRP,
 9     but about the supplanting issue, no.
10             Q      Do you know if Judy Dunlap ever -- withdrawn.
11                    Do you claim that Judy Dunlap in any way
12     retaliated against you?
13             A      No.
14             Q      Do you claim that Cal Saunders in any way
15     retaliated against you?
16             A      No.
17             Q      Do you claim that Chief Seabrooks in any way
18     retaliated against you?
19             A      No.
20             Q      Other than Cal Saunders, Chief Seabrooks and
21     Judy Dunlap, who else did you mention the supplanting
22     issue to?
23             A      I can't recall.
24                    MR. AVRAHAMY:      Besides who he's already
25     testified to.

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 1            A    Chief Seabrooks.

 2            Q    Anyone else?

 3            A    Cal Saunders.

 4            Q    Anyone else?

 5            A    Mike Falco.

 6            Q    Anyone else?

 7            A    The FBI.

 8            Q    Anyone else?

 9            A    Judy Dunlap, Mike Spriggs.               I think that's his

10     name, Spriggs.

11            Q    Anyone else?

12            A    Not that I can recall at this time.

13            Q    Earlier I'd asked you whether or not you had

14     any further conversations with Mayor Butts regarding the

15     CHRP funding.     You said the only conversation you had

16     with Mayor Butts himself was the meeting that he called,

17     and you provided your opinion regarding the use of the

18     CHRP funds.     Do you now have any recollection after that

19     conversation having any specific conversation with Mayor

20     Butts where you raised the concern that the city was

21     supplanting CHRP funds?

22            A    I can't recall at this time any other meeting

23     I had with Mayor Butts regarding supplanting.                 I had

24     other meetings with Mayor Butts about CHRP, but

25     specifically supplanting, I can't recall any other

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 1     meeting.
 2            Q     So is there any other illegal activities that
 3     you believe that you -- withdrawn.
 4                  You consider yourself you said to have
 5     reported misconduct.         Is that what you said?        Let me
 6     see.   Hold on a second.         Withdrawn.
 7                  You said that you were retaliated against
 8     because you spoke out against Butts and what perceived
 9     to be illegal activity.          Do you recall that testimony
10     generally?
11            A     I don't think that was my exact words, but,
12     yes, I do recall.
13            Q     Is there anything else that you believe that
14     you spoke out against what you perceived to be illegal
15     activity that forms the basis of this complaint?
16            A     Not that I can recall at this time.
17            Q     Do you have any personal knowledge that Cal
18     Saunders disclosed what was discussed between you and
19     him with Mayor Butts?
20            A     As I stated before, the only knowledge I have
21     is that Cal Saunders told me that he reported it to the
22     council.     I don't know who specifically in the council
23     he reported it to.
24            Q     And sitting here today, you do not have a
25     specific date that you can recall when you spoke

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 1     initially to Cal Saunders; correct?

 2                 MR. AVRAHAMY:     I believe that's asked and

 3     answered, but if you have any further information on

 4     that question.

 5                 THE WITNESS:     If I had the opportunity to

 6     review some documents, then, yes, I could probably

 7     recall it, but sitting here right now, I cannot recall

 8     the specific date.

 9     BY MS. GOLDSMITH:

10            Q    What documents would you need to look at?

11            A    The documents I thought that we had given you.

12     I'm not sure if you have the entire folder here, but --

13            Q    I recall in your complaint that you allege

14     it's October of 2011.       What I don't know is when you

15     claim that you spoke to Cal Saunders in 2011.           Do you

16     have any documentation that would reflect when in

17     October of 2011 you spoke to Cal Saunders?

18            A    I would have to review the log that I typed

19     during that time.

20                 MS. GOLDSMITH:      Can we go off the record for a

21     moment?    Yes?

22                 MR. AVRAHAMY:     Yes.

23                 (Discussion off the record.)

24     BY MS. GOLDSMITH:

25            Q    When you spoke with Cal Saunders, you didn't

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 1     raise any broad concerns about corruption or systematic

 2     abuse.       You were just focused on the CHRP grant; right?

 3              A     It was focused on -- for that particular

 4     conversation, it was focused just on the CHRP grant.

 5              Q     Did Chief Seabrooks ever tell you not to speak

 6     to Cal Saunders?

 7              A     No.

 8              Q     Did Captain Fronterotta -- at the time Captain

 9     Fronterotta -- ever tell you not to speak to Cal

10     Saunders?

11              A     Not that I can recall, no.

12              Q     Did any member of council ever give you a

13     directive not to speak with Cal Saunders?

14              A     No.

15              Q     Does the Inglewood Police Department have a

16     policy on how it responds to its employees who report

17     misconduct?

18              A     Yes.

19              Q     What policy is that?

20              A     Don't know.

21              Q     Don't know the individual IPD policy number,

22     or you don't remember the title?

23              A     I don't know the title, and I don't know the

24     policy number.

25              Q     What is the policy?          Can you describe it to

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 1                 You claim that Chief Fronterotta committed

 2     libel regarding your performance evaluation; right?

 3            A    Yes.

 4            Q    What is the basis that you believe it's libel?

 5            A    It was not factual, and I believe the intent

 6     was to sabotage my career so that I could not process

 7     with any other police department.

 8            Q    Are you aware if anyone, at the time the

 9     performance evaluation was made, received a copy of the

10     evaluation?

11            A    Not that I can recall at this time.

12                 MS. GOLDSMITH:      It's 4:35.          Why don't we end

13     for today before I go into a different subject matter.

14                 MR. AVRAHAMY:     Okay.

15                 MS. GOLDSMITH:      I'll probably -- I'll come

16     back to the evaluation, but I think that will take too

17     long to now give him the evaluation and ask him what was

18     defamatory about it.      So we'll call it a day.

19                 MR. AVRAHAMY:     Okay.      Thank you.

20                 MS. GOLDSMITH:      At this time I'd like to

21     relieve the court reporter of her duties under the

22     United States District Court rules of evidence.                We are

23     in federal court.     That I instruct the court reporter to

24     begin preparing the transcript.            I'm waiving any

25     requirement that the witness go to the court reporting

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 1                      UNITED STATES DISTRICT COURT
 2         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 3
 4     MARTIN SISSAC,
 5                  Plaintiff,
 6            vs.                                     Case No.:
                                                      2:15-cv-01741-JAK-FFM
 7
       CITY OF INGLEWOOD; MAYOR
 8     JAMES BUTTS; CHIEF OF POLICE
       MARK FRONTEROTTA AND DOES 1
 9     THROUGH 10, INCLUSIVE,
10                  Defendants.
11     _____________________________
12
13
14
15                       DEPOSITION OF MARTIN SISSAC
16                         Los Angeles, California
17                         Monday, August 8, 2016
18                                   Volume II
19
20
21
22
       Reported by:
23     MICHELLE BULKLEY
       CSR No. 13658
24     Job No. 2358524
25     PAGES 226 - 438

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 1     for the Office of Administrative Services; correct?

 2            A    To the best of my recollection, I don't

 3     remember when the transition occurred, but there was a

 4     transition that did occur sometime within that time

 5     period.

 6            Q    And when the transition occurred, do you

 7     recall that Chief Seabrooks disbanded the Office of

 8     Administrative Services?

 9            A    At some point, yes.

10            Q    Do you remember if that was in June of 2011?

11            A    I don't remember when.

12            Q    And after Chief Seabrooks disbanded the Office

13     of Administrative Services, you maintained command over

14     the Office of Criminal Investigations, which included

15     custody; correct?

16            A    Yes.

17            Q    Were you aware in August of 2011, specifically

18     August 10, 2011, Chief Seabrooks had a meeting regarding

19     CHRP with Captain Fronterotta, Lieutenant Mike Marshall,

20     Lieutenant James Madilla at a command staff meeting?

21            A    No.    I don't remember it.             I remember reading

22     one of the -- I believe in one of the documents, one of

23     the -- what's it called?        The notes, the minutes from

24     Command Staff, that they met and talked about it, but I

25     don't believe I was there.

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 1            Q    And you were a member of Command Staff at the

 2     time; correct?

 3            A    Yes.

 4            Q    And you were not there; correct?

 5            A    From my recollection, I was not there.

 6            Q    And other than reviewing the minutes, did you

 7     hear from any source what occurred during that August

 8     2011 meeting?

 9            A    I don't recall at this time.

10            Q    What is Command College?

11            A    It's a California POST training course that

12     teaches law enforcement professionals, both sworn and

13     nonsworn, how to look to current indicators and forecast

14     what may or may not happen within our industry.

15            Q    While a captain at the Inglewood Police

16     Department in 2011, did you attend Command College?

17            A    I don't recall the exact dates of Command

18     College, but I think it was going on in 2011.            It either

19     ended near there, or it was still in session.            I can't

20     recall.

21            Q    And what is the time commitment regarding your

22     attending Command College?         Meaning how long were you

23     gone from IPD to attend Command College?            Withdrawn.

24     I'll ask a cleaner question.

25                 How long were you at Command College in 2011,

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 1     if you can recall?

 2            A    I don't recall.      Command College is divided

 3     into several sessions, and I don't recall the dates of

 4     each session.      I think there's a total of six or seven

 5     sessions that occur over an 18-month period.

 6            Q    And that was a course that you completed while

 7     you were captain at the IPD?

 8            A    Yes.

 9            Q    Do you remember when you completed the course?

10            A    I don't recall the exact dates.

11            Q    In September of 2011, when there was a meeting

12     with Chief Seabrooks, human resources and the IPOA to

13     meet and confer and discuss regarding police layoffs,

14     were you at Command College?

15            A    I don't recall.

16            Q    Do you recall a time in September 2011 when

17     there was another meeting with Command Staff to discuss

18     layoffs that you could not attend because of a conflict

19     due to a meeting with a homicide victim's mother?

20            A    I don't recall.

21            Q    Are you familiar with the Inglewood Police

22     Department's description of a team entitled the Special

23     Enforcement Team?

24            A    Yes.

25            Q    And what is the Special Enforcement Team?

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 1                 MS. GOLDSMITH:      He's not answering my

 2     question, and he's -- there's nothing about that

 3     statement for him to go on a dissertation or narrative

 4     to further support and bolster any type of opinion.

 5     BY MS. GOLDSMITH:

 6            Q    It's a very simple statement.             On October 5th,

 7     eight Inglewood police officers were served notices of

 8     layoff to become effective November 5, 2011.               Did that

 9     happen or did it not happen?

10            A    Yes, but that's not answering your original

11     question, but yes --

12            Q    My question was the factual information in

13     these bullet points; right?          So on October 5, 2011, were

14     eight Inglewood police officers served notices of layoff

15     to become effective November 5, 2011?               Yes or no?

16                 MR. AVRAHAMY:     Counsel, I'd really appreciate

17     it if you'd give him an opportunity to answer your

18     original question about the factual basis for these

19     points.    He can answer and you can argue but --

20                 MS. GOLDSMITH:      You know what?

21                 MR. AVRAHAMY:     -- but let him answer.

22                 THE WITNESS:     He's not --

23                 MR. AVRAHAMY:     He is.

24                 MS. GOLDSMITH:      -- answering the question,

25     Mr. Avrahamy.

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 1                 MS. GOLDSMITH:      He's wasting our time.

 2                 MR. AVRAHAMY:     You're wasting our time in the

 3     way you're not letting him answer.

 4                 MS. GOLDSMITH:      You know what?      I'm going to

 5     move to strike my question and the answer, and I'm going

 6     to try this one more time.         Okay.

 7     BY MS. GOLDSMITH:

 8            Q    Mr. Sissac, on October 5, 2011, do you know if

 9     officers were served with layoff notices to become

10     effective October 5, 2011?

11            A    Yes.

12            Q    And were they?

13            A    I believe they were.

14            Q    Do you know, since the latter part of the

15     school year 2008, 2009, the City of Inglewood eliminated

16     121 full-time and 27 part-time or full-time-equivalent

17     positions, including the sworn positions of police

18     captain and police sergeant?          Do you know if that's true

19     or not?

20            A    I don't know if the numbers are accurate, but,

21     yes, a few position -- I mean a lot of positions were

22     eliminated, and a lot of people were laid off.

23            Q    In fiscal year 2010, 2011, did the City of

24     Inglewood implement a workforce reduction program, an

25     employee furlough program and a variety of other

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 1     employee considerations?
 2            A     Yes.
 3            Q     In fiscal year 2010, 2011, did the City of
 4     Inglewood defund five additional police sergeant
 5     positions?
 6            A     That was another one that I was going to
 7     address in your original question.                  I'm not sure what
 8     defund -- how they're using that particular term.                  Did
 9     they freeze the positions?            I don't recall.        I don't
10     believe they defunded them.             I believe that they froze
11     them, but I'm not sure about that.                  So I think that's
12     not factual.
13            Q     But sitting here today, you're not sure one
14     way or the other?
15            A     I'm not sure.
16            Q     On September 27, 2011, do you know if the
17     Inglewood City Council approved the fiscal year 2011,
18     2012 budget that had cost savings of eight laid-off
19     police officers?
20            A     You're asking me if that was factual?
21            Q     Correct.     Do you know?
22            A     I believe that they did, yes.
23            Q     Okay.    And do you know that in the 2011, 2012
24     budget, they froze 24 additional non-police positions?
25            A     I assume they did.           I don't know if that's

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 1     factual or not.

 2            Q    Okay.   Did you yourself ever review the

 3     Inglewood meeting budget workshop's disks that were

 4     disseminated on September 26, 2011?

 5            A    I don't recall.      I could have reviewed them,

 6     but I don't know the specifics about them.

 7            Q    All right.    Thank you.

 8                 At some point did you become aware that the

 9     Department of Justice, upon receiving the modification

10     request, approved the award modification request for

11     post-application layoffs?

12            A    If I understand your question correctly, yes,

13     the second time the city applied for the modification,

14     DOJ accepted it.

15            Q    And do you recall if you saw the approval

16     notification by the Department of Justice?

17            A    Most likely, I didn't, but I don't recall.

18                 MS. GOLDSMITH:      I'm going to have the court

19     reporter mark next as Exhibit 10 an email and attachment

20     from Jacqueline Seabrooks to various people concerning

21     the preliminary notification that the Department of

22     Justice approve the modification request.

23                 (Exhibit 10 marked.)

24     BY MS. GOLDSMITH:

25            Q    If you could review the email and attachment,

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 1            Q     And if you look at the form, if you will, the
 2     checkbox of the first five pages, each of the boxes is
 3     satisfactory and above.          Do you see that?
 4            A     Yes.
 5            Q     Any part of that document do you claim to be
 6     defamatory?
 7            A     No.
 8            Q     And there are other -- two pages, pages 6 and
 9     7, that have also a form and various information filled
10     out.   Do you believe pages 6 and 7 to be defamatory?
11            A     No.
12            Q     There's also a typewritten attachment to the
13     personnel evaluation.         Do you see that?
14            A     Yes.
15            Q     Is that the document that you claim to be
16     defamatory?
17            A     Yes.
18            Q     I don't need you to recite the statements
19     contained therein because the document will speak for
20     itself.    Mr. Sissac, generally what is it about the
21     attachment that you believe to be defamatory?
22            A     They are factually incorrect.           They put me
23     into a light that I failed as a captain.              I think
24     there's language in here that actually says I failed at
25     my job or failed to complete something.              I don't know

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 1     where it is.       I'll have to research the entire document

 2     to find out.       So based on those two things.

 3             Q   And did you grieve the evaluation?

 4             A   Yes.

 5             Q   And did the city manager grant portions of

 6     your grievance?

 7             A   I think he granted one portion, yes.

 8             Q   Do you know -- I don't want you to guess.          Do

 9     you know if Chief Fronterotta showed this performance

10     evaluation to anyone?

11             A   Yes.     I don't know if Chief Fronterotta showed

12     it to someone, but the document was seen by someone

13     else.

14             Q   Okay.     Let's break that down a little bit.       Do

15     you have any facts, including information or

16     documentation, that Chief Fronterotta showed your

17     performance evaluation to anyone else?

18             A   Defining the word "showed" as meaning that

19     Chief Fronterotta had a physical copy of the document

20     and actually gave it to another person, no, I don't

21     think that occurred.

22             Q   Upon what do you base your claim that the

23     document was seen by someone else?

24             A   My background investigation.

25             Q   And what is that?

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 1              A   When I applied to the Fontana Unified School

 2     District, the document was seen by my background

 3     investigator and also the representatives at the school

 4     district.

 5              Q   Did you get the job at Fontana Unified School

 6     District?

 7              A   Yes.

 8              Q   And although it's understandable that the

 9     background investigator may have seen the performance

10     evaluation, upon what do you base your claim that

11     representatives of the school district saw it?

12              A   Because they have my background package.          They

13     have copies of it.

14              Q   How do you know your background package

15     included a copy of your performance evaluation?

16              A   Because my background investigator told me.

17              Q   What was the name of your background

18     investigator?

19              A   Rick Frazier.

20              Q   And where does Rick Frazier work?

21              A   I don't know the name of the company.

22              Q   Is it a background investigation company?

23              A   It's a private company.          I don't know the name

24     of it.

25              Q   And with the most words that you can recall,

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 1     LAPD leadership program in writing or orally?

 2              A   It was in writing.

 3              Q   And did Chief Fronterotta deny your request in

 4     writing?

 5              A   He denied it through an email two days before

 6     the training started.

 7              Q   And what explanation, if any, did he provide

 8     to you?

 9              A   From what I recall -- I don't remember what

10     his exact reasoning was.        It was a short email saying

11     that I couldn't go.      The training had already been

12     approved by LAPD, and they were expecting me to be

13     there.

14              Q   So do you know anybody else who was denied

15     LAPD leadership program training?

16              A   No.

17              Q   Do you know anybody else that was denied

18     participating in training programs by Chief Fronterotta?

19              A   Directly by Chief Fronterotta?         No.

20              Q   Right.   Are you aware of any other instances

21     where Mayor Butts retaliated against someone for

22     exercising their First Amendment rights other than

23     yourself?

24              A   No.

25              Q   Are you aware of any instance where Chief

                                                                 Page 398

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 1     Fronterotta retaliated against anyone else when they

 2     exercised their First Amendment rights other than

 3     yourself?

 4            A    No.

 5            Q    Are you aware of any document or policy that

 6     Chief Fronterotta wrote that said something to the

 7     effect of if you, you know, disagree with me, I'm going

 8     to retaliate against you?

 9            A    No.

10            Q    Did Mayor Butts ever in writing have a policy

11     that states, if you don't get on the train, I'm not

12     going to support you?

13            A    You're saying a document; correct?

14            Q    Correct.

15            A    No.

16            Q    Did Mayor Butts ever say anything to you about

17     not complying with directives that he had?

18            A    In our discussions in his office, he would

19     talk about certain things, but to be specific, no,

20     that's the only thing I'm thinking of right now when you

21     ask that question.

22            Q    Right.     Do you know -- are you personally

23     aware of Mayor Butts retaliating against anyone else

24     other than you?

25            A    Yes.

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 1            Q     Is there any other person that you believe was

 2     retaliated against by the mayor other than yourself and

 3     Oscar Serrano?

 4            A     No, not at this time.

 5            Q     Are you aware of Chief Fronterotta retaliating

 6     against anyone other than yourself?

 7            A     There were claims of retaliation by -- I can't

 8     remember her name.      It was a lady in communications, a

 9     manager in communications.         There was Keith Hoston.

10     There was -- those are the only two that I can think of

11     right now.

12            Q     Do you recall if the claims of retaliation

13     were in any way related to the exercise of First

14     Amendment free speech?

15            A     No.   I don't recall.

16            Q     And did Mr. Serrano ever bring a claim against

17     the mayor or Chief Fronterotta that he had been

18     retaliated against based on First Amendment free speech?

19            A     Not to my knowledge.

20            Q     Do you recall the name of the lady in

21     communications?

22            A     No, I can't.    I'm sorry.        It's just a blank

23     right now.

24            Q     You don't have to apologize.           Even though you

25     can't recall her name, do you recall --

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                            FTVACANTPOSITIONLISTINGASOF08/29/2011
                                             #:597

Fund       Dept Division    PositionnumTitle                      Homedept   Salarygroup   FTE   SALARY&BENEF
001        025   2510       680-008 ADMINISTRATIVE SECRETARY       025         MGMT           100   $      75,000
001        025   2522       201-005 ACCOUNT CLERK                  025         SEIU           100   $      58,000
001        035   3510       622-002 PLANNER                        035         MGMT           100   $      99,000
001        035   3570       211-001 BUILDING INSPECTOR TRAINEE     035         SEIU           100   $      75,000
001        035   3570       642-003 PLAN CHECK ENGINEER            035         MGMT           100   $    107,000
001        045   4520       699-007 POLICE SERGEANT                045         IPMA           100   $    167,000
001        045   4527       230-015 PUBLIC SAFETY DISPATCHER       045         SEIU           100   $      70,000
001        045   4527       230-013 PUBLIC SAFETY DISPATCHER       045         SEIU           100   $      70,000
001        045   4527       819-001 PUBLIC SAFETY DISPATCH SUPERVI 045         MGMT           100   $      78,000
001        045   4529       341-001 POLICE RECORDS ASSISTANT       045         SEIU           100   $      58,000
001        045   4529       366-002 CUSTODY OFFICER                045         SEIU           100   $      66,000
001        045   4530       699-011 POLICE SERGEANT                045         IPMA           100   $    167,000
001        045   4530       699-012 POLICE SERGEANT                045         IPMA           100   $    167,000
001        045   4530       516-015 POLICE DETECTIVE               045         IPOA           100   $    137,000
001        045   4530       516-006 POLICE DETECTIVE               045         IPOA           100   $    137,000
001        045   4547       699-016 POLICE SERGEANT                045         IPMA           100   $    167,000
001        045   4550       699-015 POLICE SERGEANT                045         IPMA           100   $    167,000
001        045   4553       407-007 SPECIAL ENFORCEMENT OFFICER 045            SEIU           100   $      61,000
001        045   4553       407-004 SPECIAL ENFORCEMENT OFFICER 045            SEIU           100   $      61,000
001        045   4553       367-004 SR SPECIAL ENFORCEMENT OFFICE045           SEIU           100   $      65,000
001        060   6080       644-001 FLEET MAINTENANCE COORDINATO 060           MGMT           100   $      86,000
001        070   7021       313-010 PARK MAINTENANCE WORKER        070         SEIU           100   $     68,000
001        070   7045       272-002 GRAFFITI ABATEMENT WORKER      070         SEIU           100   $     68,000




                                                   EXHIBIT G
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